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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF LOUISIANA
NEW ORLEANS DIVISION

IN RE: FEMA TRAILER * MDL NO. 1873
FORMALDEHYDE PRODUCTS * LEAL
LIABILITY LITIGATION * SECTION “N” (5) ‘

THIS DOCUMENT PERTAINS TO * JUDGE ENGELHARDT

Civil Action No. 09-7828 * MAGISTRATE CHASEZ

Shirley Acker, as Next Friend of C.A, a *

minor, et. al. *

Vs. *

Fleetwood Enterprises, Inc., et al.

SUPPLEMENTAL EXHIBIT “A” TO PLAINTIFFS’ AMENDED COMPLAINT
PURSUANT TO PRETRIAL ORDER NO. 53

In compliance with Pretrial Order 53 (Rec. Doc. 9073), Plaintiffs hereby file their
Supplemental Exhibit “A” to their Amended Complaint to match the Plaintiffs to their correct
Contractor/Installer Defendants.

In addition to the information previously submitted on Exhibit “A”, Plaintiffs attach
hereto a Supplemental Exhibit “A” and incorporate same by reference herein.

Respectfully submitted,

Ko bs

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ExhibitA 900
Bertie Lavalais (215739)

Cotrina Dillon, as Next Friend of A.D, a minor
(201986)

Cotrina Dillon, as Next Friend of Q.D, a minor
(201996)

Cynthia Derbigny (215565) Shaw Environmental, Inc

Cynthia Derbigny, as Next Friend of J.S, a minor Shaw Environmental, Inc
(216012)

Cynthia Derbigny, as Next Friend of T.C, a minor Shaw Environmental, Inc
(215519)

Eric Grace (215618)

Ernest Moore (210623) Fluor Enterprises, Inc
George Duval (206973) Bechtel National, Inc
Jacqueline Peters (216810) Shaw Environmental, Inc
Janet Duval (206974) Bechtel National, Inc

Laconya Laneaux (210305)

Laconya Laneaux, as Next Friend of L.B, a minor

(209137)

Laconya Laneaux, as Next Friend of L.L, a minor
(209136)

Laconya Leneaux, as Next Friend of M.G, a minor
(209138)

Lolita Morales (206757)

Louis Boughton (209980) Bechtel National, Inc

Mark Lacoste (214339)

Melissa Boughton (209981) Bechtel National, Inc

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Melissa Boughton, as Next Friend of B.B, a minor Bechtel! National, Inc
(209977)
Melissa Boughton, as Next Friend of C.B, a minor Bechtel National, Inc
(209978)

Robert Franklin (201793)

Rosie Evans (201903) Shaw Environmental, Inc

Sandra Rood (210236)

Shoshone Norris (200962)

Shoshone Norris, as Next Friend of J.N, a minor
(200960)

Shoshone Norris, as Next Friend of L.F, a minor
(201791)

Tonia Williams (205503) Fluor Enterprises, Inc

Tracy Westbrook (215258)

Tracy Westbrook, as Next Friend of J.B, a minor
(214761)

Tracy Westbrook, as Next Friend of K.L, a minor
(214338)

Willie Plummer (215900) Shaw Environmental, Inc

